Case 3:21-cv-00881-X Document 138-60 Filed 07/14/23   Page 1 of 71 PageID 9660




                            EXHIBIT 60




                                                                  Appx. 01079
       Case 3:21-cv-00881-X Document 138-60 Filed 07/14/23                                                                   Page 2 of 71 PageID 9661
                                                                                                                                 Claim #198 Date Filed: 10/21/2020

 Fill in this information to identify the case:


 Debtor             Highland Capital Management, L.P.

 United States Bankruptcy Court for the:   Northern                      District of   Texas
                                                                                         (State)

 Case number       19-34054




Official Form 410
Proof of Claim                                                                                                                                                      04/19
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                                  CLO Holdco, Ltd.
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor


2. Has this claim been           ✔ No
   acquired from
   someone else?                        Yes.     From whom?

3. Where should                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   notices and                                                                                                   different)
   payments to the               See summary page                                                                CLO Holdco, Ltd.
   creditor be sent?                                                                                             c/o Grant Scott, Director
                                 Name                                                                             Name
                                                                                                                 Myers   Bigel P.A.
    Federal Rule of                                                                                              4140 Park Lake Ave., Ste 600
    Bankruptcy Procedure         Number          Street                                                           Number    Street
    (FRBP) 2002(g)                                                                                               Raleigh, NC 27612, United States
                                 City                                State                 ZIP Code              City                       State                  ZIP Code

                                 Contact phone       214-777-4200                                                Contact phone

                                 Contact email       jkane@krcl.com                                              Contact email   gscott@myersbigel.com


                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                 ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


4. Does this claim                      No
   amend one already
   filed?                        ✔ Yes.          Claim number on court claims registry (if known) 133                                Filed on 04/08/2020
                                                                                                                                              MM     /   DD   /    YYYY

5. Do you know if                ✔ No
   anyone else has filed
   a proof of claim for                 Yes. Who made the earlier filing?
   this claim?




  Official Form 410                                                       Proof of Claim
                                                                                                                                                                  page 1

                                                                                                                                                    Appx. 01080
      Case 3:21-cv-00881-X Document 138-60 Filed 07/14/23                                                  Page 3 of 71 PageID 9662
Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         ✔ No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?        $ 0.00                                       . Does this amount include interest or other charges?
                                                                                      No

                                                                                 ✔ Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 Participation and Tracking Interests in investment funds


9. Is all or part of the claim    ✔ No
   secured?
                                      Yes. The claim is secured by a lien on property.
                                             Nature or property:

                                                  Real estate: If the claim is secured by the debtor’s principle residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                                  Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $
                                             Amount of the claim that is secured:           $
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a      ✔ No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a
                                  ✔ No
    right of setoff?
                                      Yes. Identify the property:




 Official Form 410                                             Proof of Claim
                                                                                                                                                page 2

                                                                                                                                      Appx. 01081
       Case 3:21-cv-00881-X Document 138-60 Filed 07/14/23                                                                   Page 4 of 71 PageID 9663
12. Is all or part of the claim       ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                              Amount entitled to priority

    A claim may be partly                             Domestic support obligations (including alimony and child support) under
    priority and partly                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                        $
    in some categories, the                           Up to $3,025* of deposits toward purchase, lease, or rental of property
    law limits the amount                             or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                     $
    entitled to priority.
                                                      Wages, salaries, or commissions (up to $13,650*) earned within 180
                                                      days before the bankruptcy petition is filed or the debtor’s business ends,                    $
                                                      whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                          $
                                                      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                              $
                                                      Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                              $

                                             * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the claim       ✔ No
    pursuant to 11 U.S.C.
    § 503(b)(9)?                             Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
                                             days before the date of commencement of the above case, in which the goods have been sold to the Debtor in
                                             the ordinary course of such Debtor’s business. Attach documentation supporting such claim.

                                             $


Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                         I am the creditor.
FRBP 9011(b).
                                  ✔       I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
A person who files a              the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fraudulent claim could be
                                  I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
fined up to $500,000,
imprisoned for up to 5            I declare under penalty of perjury that the foregoing is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
                                  Executed on date             10/21/2020
3571.                                                               MM / DD / YYYY




                                   /s/Grant Scott
                                          Signature

                                  Print the name of the person who is completing and signing this claim:
                                  Name                       Grant Scott
                                                             First name                             Middle name                            Last name

                                  Title                      Counsel
                                  Company                    CLO Holdco, Ltd.
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.


                                  Address
                                                             Number              Street




                                  Contact phone
                                                             City
                                                                                                                 ¨1¤}HV4*5         State

                                                                                                                                   Email
                                                                                                                                         0`«
                                                                                                                   1934054201021000000000016
                                                                                                                                                     ZIP Code




 Official Form 410                                                        Proof of Claim
                                                                                                                                                                    page 3

                                                                                                                                                         Appx. 01082
   Case 3:21-cv-00881-X Document 138-60 Filed 07/14/23                                     Page 5 of 71 PageID 9664
                                          KCC ePOC Electronic Claim Filing Summary
                                     For phone assistance: Domestic (877) 573-3984 | International (310) 751-1829
       Debtor:
              19-34054 - Highland Capital Management, L.P.
       District:
               Northern District of Texas, Dallas Division
       Creditor:                                                         Has Supporting Documentation:
               CLO Holdco, Ltd.                                                Yes, supporting documentation successfully uploaded
               Kane Russell Coleman Logan PC, John J Kane                Related Document Statement:
               901 Main Street, Suite 5200
                                                                         Has Related Claim:
               Dallas, Texas, 75202                                             No
               United States                                             Related Claim Filed By:
               Phone:
                                                                         Filing Party:
               214-777-4200
               Phone 2:                                                         Authorized agent

               Fax:
               Email:
               jkane@krcl.com
       Disbursement/Notice Parties:
              CLO Holdco, Ltd.
              c/o Grant Scott, Director
              Myers Bigel P.A.
              4140 Park Lake Ave., Ste 600
               Raleigh, NC, 27612
               United States
               Phone:
               Phone 2:
               Fax:
               E-mail:
               gscott@myersbigel.com
               DISBURSEMENT ADDRESS

       Other Names Used with Debtor:                                     Amends Claim:
                                                                              Yes - 133, 04/08/2020
                                                                         Acquired Claim:
                                                                                No
       Basis of Claim:                                                   Last 4 Digits:        Uniform Claim Identifier:
              Participation and Tracking Interests in investment funds          No
       Total Amount of Claim:                                            Includes Interest or Charges:
              0.00                                                              Yes
       Has Priority Claim:                                               Priority Under:
              No
       Has Secured Claim:                                                Nature of Secured Amount:
             No                                                          Value of Property:
       Amount of 503(b)(9):
                                                                         Annual Interest Rate:
               No
                                                                         Arrearage Amount:
       Based on Lease:
              No                                                         Basis for Perfection:
       Subject to Right of Setoff:
                                                                         Amount Unsecured:
              No
       Submitted By:
              Grant Scott on 21-Oct-2020 5:53:37 p.m. Eastern Time
       Title:
              Counsel
       Company:
            CLO Holdco, Ltd.




VN: 454F3BC9208175459685E9A6D8E2BD38
                                                                                                                 Appx. 01083
              Case 3:21-cv-00881-X Document 138-60 Filed 07/14/23                                                          Page 6 of 71 PageID 9665
  Fill in this information to identify the case:

  Debtor 1              Highland Capital Management, L.P.
                        __________________________________________________________________

  Debtor 2               ________________________________________________________________
  (Spouse, if filing)

  United States Bankruptcy Court for the: __________  District
                                          Northern District of of __________
                                                               Texas

  Case number            19-34054-sgj11
                         ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                     

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?
                                      CLO   Holdco, Ltd.
                                      ___________________________________________________________________________________________________________
                                      Name of the current creditor (the person or entity to be paid for this claim)

                                      Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been                ✔
                                         No
   acquired from
   someone else?                         Yes. From whom?         ______________________________________________________________________________________________________



3. Where should notices               Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                            different)
   creditor be sent?
                                      Kane Russell Coleman Logan PC, John J Kane
                                      _____________________________________________________                       CLO Holdco, Ltd., Grant Scott, Director
                                                                                                                  _____________________________________________________
   Federal Rule of                    Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                     901 Main Street, Suite 5200
                                      ______________________________________________________                      Myers Bigel P.A., 4140 Park Lake Ave., Ste 600
                                                                                                                  ______________________________________________________
                                      Number      Street                                                          Number      Street
                                      Dallas                     TX           75202
                                      ______________________________________________________                       Raleigh                   NC           27612
                                                                                                                  ______________________________________________________
                                      City                       State             ZIP Code                       City                       State             ZIP Code

                                      Contact phone     214.777.4200
                                                       ________________________                                   Contact phone   ________________________

                                      Contact email      jkane@krcl.com
                                                        ________________________                                  Contact email   gscott@myersbigel.com
                                                                                                                                  ________________________



                                      Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                      __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend                 No
   one already filed?                 ✔
                                                                                               133
                                          Yes. Claim number on court claims registry (if known) ________                                Filed on    04/08/2020
                                                                                                                                                   ________________________
                                                                                                                                                   MM / DD       / YYYY



5. Do you know if anyone              ✔
                                         No
   else has filed a proof                Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?




  Official Form 410                                                             Proof of Claim                                                             page 1
                                                                                                                                              Appx. 01084
           Case 3:21-cv-00881-X Document 138-60 Filed 07/14/23                                             Page 7 of 71 PageID 9666
 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number        ✔ No
                                 
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:      ____ ____ ____ ____
   debtor?



7. How much is the claim?                                   0.00 Does this amount include interest or other charges?
                                   $_____________________________.
                                                                              No
                                                                             ✔ Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                             
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 Participation and Tracking Interests in investment funds
                                 ______________________________________________________________________________



9. Is all or part of the claim   ✔ No
                                 
   secured?                       Yes.    The claim is secured by a lien on property.
                                           Nature of property:
                                              Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                              Motor vehicle
                                              Other. Describe:           _____________________________________________________________



                                           Basis for perfection:          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed)_______%
                                              Fixed
                                              Variable



10. Is this claim based on a     ✔ No
                                 
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $____________________


11. Is this claim subject to a   ✔ No
                                 
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




 Official Form 410                                                   Proof of Claim                                                         page 2
                                                                                                                                  Appx. 01085
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                                                                  Appx. 01086
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                           SUMMARY OF AMENDED PROOF OF CLAIM

Debtor(s):      Highland Capital Management, L.P. (the “Debtor”)

Case Info:      19-34054-sgj11; United States Bankrutpcy Court, Northern District of Texas, Dallas Division

Creditor:       CLO Holdco, Ltd. (“CLO”)



A.      CLO’s Proof of Claim
        1.      Claim Amount. CLO filed its original Proof of Claim in the amount of $11,340,751.26,
which evidenced the amount of CLO's claim against the Debtor as of October 16, 2019 (the "Petition
Date"). CLO's claim consisted of participation interests and tracking interests in shares of certain funds,
evidenced by certain transfer documents attached to this Summary. Below is a summary statement of
accounts provided by the Debtor to CLO on October 24, 2019:




CLO understands that the Debtor has reached a settlement with the Redeemer Committee and the
Highland Crusader Fund that will terminate the Debtor's and Eames, Ltd.'s interested in the Crusader funds
in which CLO owns participation interests. According to the Debtor, the termination of the Debtor's
interests in those funds served to cancel CLO's participation interests in the Debtor's interests in those
funds. Accordingly, CLO's Claim Amount is reduced to $0.00.

        2.       Supporting Documentation. The total amount due and owing as of the Petition Date is
evidenced by the following supporting documentation:

                a.       The Statement of Accounts provided above;

                b.       Debtor's List of Largest Unsecured Creditors;

                c.       Excerpt of Debtor's Schedules; and

                d.       Participation Interest and Tracking Interest transfer documents detailing transfer
                         of ownership interests to CLO.

B.      Reservation of Rights
         By filing this amendment, CLO expressly reserves all of its rights to, among other things, amend this
claim, file an administrative expense claim, file a rejection claim, and seek attorneys' fees and interest as
allowed by law. If the Debtor objects to this amended Proof of Claim, CLO reserves the right to produce
additional documents and facts as necessary to support its claim.



                                                                                      8015353 v1 (72268.00002.000)


                                                                                                Appx. 01087
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               ATTACHMENT B




                                                                  Appx. 01088
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    Case 19-34054-sgj11
               Case 19-12239-CSS
                        Doc 3 Filed 12/04/19
                                      Doc 1 Filed
                                             Entered
                                                  10/16/19
                                                     12/04/19
                                                            Page
                                                              17:38:14
                                                                  1 of 16 Page 1 of 16




                                                                            Appx. 01089
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    Case 19-34054-sgj11
               Case 19-12239-CSS
                        Doc 3 Filed 12/04/19
                                      Doc 1 Filed
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                                                  10/16/19
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                                                                  2 of 16 Page 2 of 16




                                                                            Appx. 01090
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    Case 19-34054-sgj11
               Case 19-12239-CSS
                        Doc 3 Filed 12/04/19
                                      Doc 1 Filed
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                                                                            Appx. 01091
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    Case 19-34054-sgj11
               Case 19-12239-CSS
                        Doc 3 Filed 12/04/19
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                                                                            Appx. 01092
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    Case 19-34054-sgj11
               Case 19-12239-CSS
                        Doc 3 Filed 12/04/19
                                      Doc 1 Filed
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                                                                            Appx. 01093
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    Case 19-34054-sgj11
               Case 19-12239-CSS
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                                      Doc 1 Filed
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                                                                            Appx. 01094
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               Case 19-12239-CSS
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                                                                            Appx. 01095
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    Case 19-34054-sgj11
               Case 19-12239-CSS
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                                                                            Appx. 01096
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             Case 19-34054-sgj11
                         Case 19-12239-CSS
                                 Doc 3 Filed 12/04/19
                                               Doc 1 Filed
                                                      Entered
                                                           10/16/19
                                                              12/04/19
                                                                     Page
                                                                       17:38:14
                                                                           9 of 16 Page 9 of 16
   Fill in this information to identify the case:

   Debtor name    HIGHLAND CAPITAL MANAGEMENT, L.P.
   United States Bankruptcy Court for the:    District of Delaware
                                                                                   (State)
                             19-                                                                                                                      Check if this is an
   Case number (If known):
                                                                                                                                                      amended filing




 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
 Unsecured Claims and Are Not Insiders                                                                                                                              12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims.


   Name of creditor and complete             Name, telephone number,        Nature of the        Indicate if claim   Amount of unsecured claim
   mailing address, including zip            and email address of creditor claim                 is contingent,      If the claim is fully unsecured, fill in only unsecured
   code                                      contact                       (for example, trade   unliquidated, or    claim amount. If claim is partially secured, fill in total
                                                                           debts, bank loans,    disputed            claim amount and deduction for value of collateral or
                                                                           professional                              setoff to calculate unsecured claim.
                                                                           services, and
                                                                           government
                                                                           contracts)
                                                                                                                     Total claim, if       Deduction for    Unsecured claim
                                                                                                                     partially             value of
                                                                                                                     secured               collateral or
                                                                                                                                           setoff


1. RedeemerCommitteeof TerriMascherin          Litigation                                 Contingent                                             $189,314,946.00
    theHighlandCrusader Tel:312.923.2799                                                   Unliquidated
    Fund                      Email:                                                           Disputed
    c/oTerriMascherin,Esq. tmascherin@jenner.com
    Jenner&Block
    353N.ClarkStreet
    Chicago,IL60654Ͳ3456
2. PatrickDaugherty         ThomasA.Uebler     Litigation                                 Contingent                                             $11,700,000.00
    c/oThomasA.Uebler, Tel:302.468.5963                                                   Unliquidated
    Esq.                      Email:                                                           Disputed
    McCollomD'EmilioSmith tuebler@mdsulaw.com
    UeblerLLC
    2751CentervilleRd#401
    Wilmington,DE19808
3. CLOHoldco,Ltd.          GrantScott          Contractual                                                                                       $11,511,346.00
    GrantScott,Esq.         Tel:919.854.1407   Obligation
    MyersBigelSibley&      Email:
    Sajovec,P.A.             gscott@myersbigel.com
    4140ParkLakeAve,Ste
    600
    Raleigh,NC27612




DOCS_SF:101987.5
                                                                                                                                                Appx. 01097
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  Debtor       HIGHLAND CAPITAL MANAGEMENT, L.P.                                      Case number (if known)19-
              Name




4. McKoolSmith,P.C.        GaryCruciani          Professional            Contingent                             $2,163,976.00
    GaryCruciani,Esq.       Tel:214.978.4009      Services                Unliquidated
    McKoolSmith              Email:                                           Disputed
    300CrescentCourt,Suite gcruciani@mckoolsmith.
    1500                      com
    Dallas,TX75201
5. MetaͲeDiscoveryLLC      PaulMcVoy             Professional                                                   $1,852,348.54
    PaulMcVoy                Tel:203.544.8323      Services
    SixLandmarkSquare,4th Email:
    Floor                     pmcvoy@metaediscover
    Stamford,CT6901         y.com
6. FoleyGardere             HollyO'Neil           Professional                                                   $1,398,432.44
    HollyO'Neil,Esq.        Tel:214.999.4961      Services
    Foley&LardnerLLP       Email:honeil@foley.com
    2021McKinneyAvenue
    Suite1600
    Dallas,TX75201
7. DLAPiperLLP(US)        MarcD.Katz           Professional                                                   $994,239.53
    MarcD.Katz,Esq.        Tel:214.743.4534      Services
    1900NPearlSt,Suite    Email:
    2200                      marc.katz@dlapiper.com
    Dallas,TX75201
8. ReidCollins&TsaiLLP   WilliamT.Reid        Professional                                                   $625,845.28
    WilliamT.Reid,Esq.     Tel:512.647.6105      Services
    810SeventhAvenue,Ste Email:
    410                       wreid@rctlegal.com
    NewYork,NY10019
9. Joshua&JenniferTerry BrianShaw               Litigation              Contingent                             $425,000.00
    c/oBrianP.Shaw,Esq. Tel:214.239.2707                                Unliquidated
    RoggeDunnGroup,PC email:                                              Disputed
    500N.AkardStreet,Suiteshaw@roggedunngroup.
    1900                      com
    Dallas,TX75201
10.NWCC,LLC                  MichaelA.Battle      Litigation              Contingent                             $375,000.00
    c/oofMichaelA.Battle, Tel:202.371.6350                               Unliquidated
    Esq.                      Email:                                          Disputed
    Barnes&Thornburg,LLP mbattle@btlaw.com
    1717PennsylvaniaAve
    N.W.Ste500
    Washington,DC20006Ͳ
    4623
11.Duff&Phelps,LLC         DavidLandman          Professional                                                   $350,000.00
    c/oDavidLandman         Tel:216.363.4593      Services
    Benesch,Friedlander,     Email:
    Coplan&AronoffLLP      dlandman@beneschlaw.
    200PublicSquare,Suite com
    2300
    Cleveland,OH44114Ͳ
    2378
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              Name




12.AmericanArbitration      ElizabethRobertson,   Professional                                                    $292,125.00
   Association               Director               Services
   120Broadway,21st        Tel:212.484.3299
   Floor,                   Email:
   NewYork,NY10271        robertsone@adr.org
13.LackeyHershmanLLP       PaulLackey            Professional                                                    $246,802.54
   PaulLackey,Esq.        Tel:214.560.2206      Services
   StinsonLLP               Email:
   3102OakLawnAvenue, paul.lackey@stinson.co
   Ste777                   m
   Dallas,TX75219
14.BatesWhite,LLC          KarenGoldberg         Professional                                                    $235,422.04
   KarenGoldberg,Esq.      Tel:202.747.2093      Services
   2001KStreetNW,North Email:
   BldgSuite500            karen.goldberg@batesw
   Washington,DC20006 hite.com
15.Debevoise&Plimpton MichaelHarrell             Professional                                                    $179,966.98
   LLP                       Tel:212Ͳ909Ͳ6349      Services
   c/oAccountingDept28th  Email:
   Floor                    mpharrell@debevoise.com
   919ThirdAvenue
   NewYork,NY10022
16.AndrewsKurthLLP         ScottA.Brister       Professional                                                    $137,637.81
   ScottA.Brister,Esq.    Tel:512.320.9220      Services
   111CongressAvenue,SteEmail:
   1700                      ScottBrister@andrewsku
   Austin,TX78701          rth.com
17.ConnollyGallagherLLP RyanP.Newell            Professional                                                    $118,831.25
   1201N.MarketStreet Tel:302.888.6434          Services
   20thFloor                Email:
   Wilmington,DE19801 rnewell@connollygallagh
                              er.com
18.Boies,Schiller&Flexner ScottE.Gant          Professional                                                    $115,714.80
   LLP                       Tel:202.237.2727      Services
   5301WisconsinAveNW Email:sgant@bsfllp.com
   Washington,DC20015Ͳ
   2015
19.UBSAG,LondonBranch AndrewClubock             Litigation                Contingent                            Unliquidated
   andUBSSecuritiesLLC Tel:202.637.3323                                    Unliquidated
   c/oAndrewClubock,Esq. email:                                             Disputed
   Latham&WatkinsLLP Andrew.Clubok@lw.com
   555EleventhStreetNW
   Suite1000
   Washington,DC20004Ͳ
   130




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  Debtor       HIGHLAND CAPITAL MANAGEMENT, L.P.                                      Case number (if known)19-
              Name




20.AcisCapital              BrianShaw          Litigation                  Contingent                             Unliquidated
   Management,L.P.and Tel:214.239.2707                                    Unliquidated
   AcisCapitalManagementemail:                                              Disputed
   GP,LLC                   shaw@roggedunngroup.
   c/oBrianP.Shaw,Esq. com
   RoggeDunnGroup,PC
   500N.AkardStreet,Suite
   1900
   Dallas,TX75201




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                         IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE

                                                        )
In re:                                                  )   Chapter 11
                                                        )
HIGHLAND CAPITAL MANAGEMENT, L.P.,                      )   Case No. 19-_____ (___)
                                                        )
                               Debtor.                  )
                                                        )

                   CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)


               Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges
to evaluate possible disqualification or recusal, the Debtor, certifies that the following is a
corporation other than the Debtor, or a governmental unit, that directly or indirectly owns 10% or
more of any class of the corporation’s equity interests, or states that there are no entities to report
under FRBP 7007.1.


5 None [check if applicable]

           Name:
           Address:




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                        IN THE UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF DELAWARE

                                                       )
In re:                                                 )   Chapter 11
                                                       )
HIGHLAND CAPITAL MANAGEMENT, L.P.,                     )   Case No. 19-_____ (___)
                                                       )
                              Debtor.                  )

                            LIST OF EQUITY SECURITY HOLDERS


Following is the list of the Debtor’s equity security holders which is prepared in accordance with rule
1007(a)(3) for filing in this Chapter 11 Case:

           Name:           Strand Advisors, Inc.
           Address:        300 Crescent Court
                           Suite 700
                           Dallas, TX 75201

           Name:           The Dugaboy Investment Trust
           Address:        300 Crescent Court
                           Suite 700
                           Dallas, TX 75201

           Name:           Mark K. Okada
           Address:        300 Crescent Court
                           Suite 700
                           Dallas, TX 75201

           Name:           The Mark and Pamela Okada Family Trust – Exempt Trust #1
           Address:        300 Crescent Court
                           Suite 700
                           Dallas, TX 75201

           Name:           The Mark and Pamela Okada Family Trust – Exempt Trust #2
           Address:        300 Crescent Court
                           Suite 700
                           Dallas, TX 75201

           Name:           Hunter Mountain Investment Trust
           Address:        c/o Rand Advisors LLC
                           John Honis
                           87 Railroad Place Ste 403
                           Saratoga Springs, NY 12866

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                    IN THE UNITED STATES BANKRUPTCY COURT

                           FOR THE DISTRICT OF DELAWARE

                                                    )
In re:                                              )   Chapter 11
                                                    )
HIGHLAND CAPITAL MANAGEMENT, L.P.,                  )   Case No. 19-_____ (___)
                                                    )
                             Debtor.                )
                                                    )

                       CERTIFICATION OF CREDITOR MATRIX


               Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure
for the United States Bankruptcy Court for the District of Delaware, the above captioned debtor
(the “Debtor”) hereby certifies that the Creditor Matrix submitted herewith contains the names
and addresses of the Debtor’s creditors. To the best of the Debtor’s knowledge, the Creditor
Matrix is complete, correct, and consistent with the Debtor’s books and records.

                The information contained herein is based upon a review of the Debtor’s books
and records as of the petition date. However, no comprehensive legal and/or factual
investigations with regard to possible defenses to any claims set forth in the Creditor Matrix
have been completed. Therefore, the listing does not, and should not, be deemed to constitute:
(1) a waiver of any defense to any listed claims; (2) an acknowledgement of the allowability of
any listed claims; and/or (3) a waiver of any other right or legal position of the Debtor.




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               ATTACHMENT C




                                                                  Appx. 01105
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 Fill in this information to identify the case:

 Debtor name         Highland Capital Management, L.P.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)            19-34054-SGJ
                                                                                                                                                            Check if this is an
                                                                                                                                                            amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                           12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

              No. Go to Part 2.

              Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown       Unknown
           All Employees                                             Check all that apply.
           300 Crescent Ct.                                              Contingent
           Suite 700                                                     Unliquidated
           Dallas, TX 75201                                              Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2019                                                      Employee Wages & Bonuses
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                         Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    Unknown
           45 Employees
           300 Crescent Ct.                                                             Contingent
           Suite 700                                                                    Unliquidated
           Dallas, TX 75201                                                             Disputed

           Date(s) debt was incurred     2017, 2018 & 2019                         Basis for the claim:     Deferred Awards
           Last 4 digits of account number                                         Is the claim subject to offset?           No   Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.               $5,758,166.67
           46 Employees
           300 Crescent Ct.                                                             Contingent
           Suite 700                                                                    Unliquidated
           Dallas, TX 75201                                                             Disputed

           Date(s) debt was incurred     2018                                      Basis for the claim:     Prior year employee bonuses
           Last 4 digits of account number                                         Is the claim subject to offset?           No   Yes




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 Debtor       Highland Capital Management, L.P.                                                       Case number (if known)            19-34054-SGJ
              Name

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,155.00
          Centroid
          1050 Wilshire Dr.                                                      Contingent
          Ste #170                                                               Unliquidated
          Troy, MI 48084                                                         Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Trade Payable
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $155.81
          Chase Couriers, Inc
          1220 Champion Circle                                                   Contingent
          #114                                                                   Unliquidated
          Carrollton, TX 75006                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Trade Payable
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $11,340,751.26
          CLO Holdco, Ltd.
          c/o Grant Scott, Esq
          Myers Bigel Sibley & Sajovec, P.A.                                     Contingent
          4140 Park Lake Ave, Ste 600                                            Unliquidated
          Raleigh, NC 27612                                                      Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Contractual Obligation
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $198,760.29
          Cole Schotz
          Court Plaza North
          25 Main Street                                                         Contingent
          P.O. Box 800                                                           Unliquidated
          Hackensack, NJ 07602-0800                                              Disputed

          Date(s) debt was incurred                                          Basis for the claim:    See Exhibit A
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $52,500.00
          Coleman Research Group, Inc.
          120 West 45th St                                                       Contingent
          25th Floor                                                             Unliquidated
          New York, NY 10036                                                     Disputed

          Date(s) debt was incurred                                          Basis for the claim:    Trade Payable
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,090.46
          Concur Technologies, Inc.                                              Contingent
          18400 NE Union Hill Road                                               Unliquidated
          Redmond, WA 98052                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Trade Payable
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $118,831.25
          Connolly Gallagher LLP
          1201 North Market Street                                               Contingent
          20th Floor                                                             Unliquidated
          Wilmington, DE 19801                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:    See Exhibit A
          Last 4 digits of account number                                    Is the claim subject to offset?      No       Yes




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               ATTACHMENT D




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